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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

ALMONTIE SHIELDS, et al.,

      Defendants.                                      Case No. 06-cr-30166-DRH


                                      ORDER

HERNDON, Chief Judge:

             This matter comes before the Court on two Motions to Continue Trial,

one filed by defendant Aaron Molton (Doc. 329), the other by defendant Roosevelt

Johnson, III (Doc. 331). Currently, this multi-defendant trial is set for February 25,

2008. Both of these Defendants move for a continuance to allow additional time to

attempt to successfully conclude ongoing plea negotiations. The Government has not

opposed this request.

             Every defendant facing criminal charges has a right to a trial by jury or

to plead to those charges. If the Court were to deny a continuance in the light of the

ongoing plea negotiations, this could severely impact the outcome of these

discussions, thereby resulting in a miscarriage of justice.       See 18 U.S.C. §

3161(h)(8)(B)(i).    Therefore, the Court finds that a continuance is necessary.

Pursuant to 18 U.S.C. § 3161(h)(8)(A), the Court finds that the ends of justice

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served by the granting of such continuance outweigh the best interests of the public

and Defendants in a speedy trial. Accordingly, the Court GRANTS Defendants’

Motions to Continue (Docs. 329 & 331).       The Court notes that remaining co-

defendants (who have not plead guilty) have not moved for a severance. Thus, a

continuance of trial applies to all remaining co-defendants. United States v. Baker,

40 F.3d 154, 159 (7th Cir. 1994)(“‘Under § 3161(h)(7), the excludable delay of

one defendant may be ascribed to all codefendants in the same case, absent

severance.’”)(quoting United States v. Tanner, 941 F.2d 574, 580 (7th

Cir.1991), cert. denied, 502 U.S. 1102, 112 S. Ct. 1190 (1992)).

            The Court hereby CONTINUES the JURY TRIAL scheduled for February

25, 2008 to Monday, May 5, 2008 at 9:00 a.m. The time from the date these two

Motions to Continue (Docs. 329 & 331) were filed, February 11, 2008, until the date

the trial is rescheduled, May 5, 2008, is excludable time for the purposes of speedy

trial.

            IT IS SO ORDERED.

            Signed this 12th day of February, 2008.


                                             /s/    DavidRHerndon
                                             Chief Judge
                                             United States District Court




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